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 1                          UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
 2                                WESTERN DIVISION
                                      - - -
 3
       NATIONAL ASSOCIATION OF SOCIAL            :   CASE NO. 1:22-cv-0258
 4     WORKERS; WOMEN HAVE OPTIONS,              :
       INC.,                                     :   TELEPHONIC STATUS
 5                                               :   CONFERENCE
                            Plaintiffs,          :
 6                   vs.                         :   17th day of May, 2022
                                                 :   3:02 p.m.
 7     CITY OF LEBANON, OHIO; MAYOR              :
       MARK MESSER, in his official              :
 8     capacity as Mayor; CITY MANAGER           :
       SCOTT BRUNKA, in his official             :
 9     capacity as City Manager; CITY            :
       ATTORNEY MARK YURICK, in his              :
10     official capacity as City                 :
       Attorney; CHIEF OF POLICE                 :
11     JEFFREY MITCHELL, in his                  :
       official capacity as Chief of             :
12     Police,                                   :
                                                 :
13                          Defendants.          :

14                                  - - -
                           TRANSCRIPT OF PROCEEDINGS
15                 BEFORE THE HONORABLE SUSAN J. DLOTT, JUDGE
                                    - - -
16
       APPEARANCES:
17
       For the Plaintiffs:
18
                  Beatrice "Jessie" Hill, Esq.
19                Rebecca L. Kendis, Esq.
                  Case Western Reserve University School of Law
20                11075 East Boulevard
                  Cleveland, Ohio 44106
21                                         and
                  Sean A. Lev, Esq.
22                Kristen P. Miller, Esq.
                  John T. Lewis, Esq.
23                Democracy Forward Foundation
                  PO Box 34553
24                Washington, DC 20043
                                          and
25
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 1                Freda J. Levenson, Esq.
                  Elena Thompson, Esq.
 2                ACLU of Ohio
                  1108 City Park Avenue, Suite 203
 3                Columbus, Ohio 43206

 4     For the Defendants:

 5                Jonathan F. Mitchell, Esq.
                  Mitchell Law, LLC
 6                111 Congress Avenue, Suite 400
                  Austin, Texas 78701
 7                                         and
                  Joseph C. Pickens, Esq.
 8                Isaac Wiles Burkholder & Teetor, LLC
                  Two Miranova Place, Suite 700
 9                Columbus, Ohio 43215-5098
                                           and
10                Mark S. Yurick, Esq.
                  City of Lebanon, Ohio
11                50 South Broadway
                  Lebanon, Ohio 45036
12
       Law Clerk:                Michael Soder, Esq.
13
       Courtroom Deputy:         William Miller
14
       Stenographer:             Lisa Conley Yungblut, RDR, RMR, CRR, CRC
15                               United States District Court
                                 100 East Fifth Street
16                               Cincinnati, Ohio 45202

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                     Proceedings recorded in stenotype.
           Transcript produced with computer-aided transcription.
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 1                                    PROCEEDINGS

 2            (Proceedings held by teleconference at 3:02 p.m.)

 3                 THE DEPUTY:     Hi, Counsel.       This is Bill from Judge

 4     Dlott's chambers.       Let me start with defense counsel on the

 5     phone.     Do we have Mark Yurick on the phone?

 6                 MR. YURICK:     Yes, I'm here.

 7                 THE DEPUTY:     Mr. Yurick.      And you also mentioned

 8     that Joseph Pickens wanted to participate also?

 9                 MR. PICKENS:     Yes, Mr. Miller.       This is Joe Pickens

10     from the Isaac Wiles firm.          I'm here as well on behalf of

11     the City of Lebanon.

12                 THE DEPUTY:     Are there any other defense counsel on

13     the phone?

14                 MR. YURICK:     Yes, Your Honor, I believe so.

15     Mr. Mitchell, are you there?          Hello?

16                 MR. MITCHELL:      Hi, I'm here.      This is Jon Mitchell.

17     I'm here on behalf of the City of Lebanon.

18                 MR. YURICK:     Mr. Mitchell will also be acting as

19     defense counsel.

20                 THE DEPUTY:     Who are you with?

21                 MR. MITCHELL:      My own law firm.

22                 THE DEPUTY:     Who is that, I'm sorry?

23                 MR. MITCHELL:      I'm with Mitchell Law, LLC.

24                 THE DEPUTY:     Where are you located?

25                 MR. MITCHELL:      Austin, Texas.
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 1                 THE DEPUTY:     And are you admitted to the Southern

 2     District of Ohio?

 3                 MR. MITCHELL:      I am not, but I have a pro hac vice

 4     application.      I've already filled it out.

 5                 THE DEPUTY:     Okay.    Then, for plaintiff, do we have

 6     all plaintiff counsel on the docket sheet?              I'll name them:

 7     Elena Thompson, Freda Levenson, John Lewis, Kristen Miller,

 8     Rebecca Kendis, Sean Lev, and Beatrice Hill.              Is there

 9     anybody else on the call for the plaintiff?

10            Okay.    And are all of those counsel present?

11                 MS. HILL:     Yes, they are.

12                 THE DEPUTY:     Thank you.     Also on the conference

13     call today by telephone is our courtroom -- or court

14     reporter, Lisa Conley Yungblut.           Here in chambers, I have

15     Judge Dlott; the law clerk is Michael Soder.              And we are

16     here today for a status conference in Case No. 1:22-cv-258,

17     National Association of Social Workers versus the City of

18     Lebanon.     And if everybody could please identify themselves

19     before they speak.        Thank you.

20                 THE COURT:     Good afternoon, Counsel.         I assume you

21     all have copies of the pleadings at this point.               I guess I'm

22     speaking to the defendant.          I know the plaintiffs obviously

23     do.    The reason we're having this conference is that in

24     preliminary injunction cases, I usually move as quickly as

25     possible, and I've received already a memo regarding the
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 1     preliminary injunction ordering the alternative, their

 2     motion for an expedited summary judgment.

 3            And my first question is:         How long do the plaintiffs

 4     want to respond to it, and is there a possibility that they

 5     might -- that you might agree to the preliminary injunction

 6     pending resolution of this lawsuit?            I know that's a couple

 7     of questions, and I don't know -- who's speaking for the

 8     defendant?

 9                 MR. MITCHELL:      Your Honor, this is Jonathan

10     Mitchell.     I'll speak for the defendant, at least initially

11     to answer Your Honor's question.

12                 THE COURT:     Thank you, Mr. Mitchell.

13                 MR. MITCHELL:      Thank you, Your Honor.        The City of

14     Lebanon will amend the ordinance in response to this lawsuit

15     in a way that will in our view obviate the basic challenges

16     that the plaintiffs are raising.           I don't think the City

17     will be able to complete that process before the two-week

18     deadline to respond to the motion for preliminary

19     injunction, but I certainly think the defendants would be

20     willing to stipulate that they won't enforce the ordinance

21     in the manner feared by the plaintiffs while this litigation

22     is pending.

23            I don't think that will be a problem for our client to

24     make a stipulation of that sort.           I haven't drafted it yet

25     and I haven't conferred yet with counsel for the plaintiffs,
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 1     but that's what we are willing to do, and I think that

 2     should be able to alleviate any concerns that the plaintiffs

 3     might have on which they are currently seeking emergency

 4     relief.

 5                 THE COURT:     Okay.    Who wants to speak for the

 6     plaintiffs?

 7                 MS. HILL:     Your Honor, this is Jessie Hill.          You

 8     have me on the papers as Beatrice Hill, but I actually go by

 9     my middle name, Jessie, for the plaintiff.              We would be

10     willing to agree or to accept that, you know, that

11     defendants do not need to respond within two weeks if before

12     then we can get some sort of order on the record that the

13     defendants will not enforce the ordinance against our

14     clients and that -- you know, also that they would not take

15     action in the future against our clients for anything that

16     the -- or that they would not prosecute our clients for any

17     actions taken during the pendency of that agreement.                But if

18     that's the case, then, you know, if we can agree on an order

19     not to enforce, then, we are fine with that, with extending

20     the period.

21                 THE COURT:     Okay.    Mr. Mitchell?

22                 MR. MITCHELL:      I think that's fine.       The only

23     caveat that I would add -- and I may have to discuss this

24     off line with plaintiff's counsel -- is that I want to make

25     clear, if we agree to an order that is entered by the Court,
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 1     that we're not in any way conceding the possibility of

 2     attorneys' fees or prevailing party status.              So, again, we

 3     may need to discuss that with plaintiff's counsel.                I think

 4     we can work that out.        But that is my only hesitation that I

 5     would have, is memorializing an order that is signed by the

 6     Court, I don't want to be doing that and subject my clients

 7     to attorneys' fees under Section 1988 by making that type of

 8     agreement.

 9                 MS. HILL:     Your Honor, this is Jessie Hill.          I'm

10     certain we could work something out with respect to that

11     issue.     That also doesn't strike me as a major obstacle as

12     long as we can agree to language.           We would insist in

13     something being on the record as an agreed order that the

14     defendants will not enforce.

15                 THE COURT:     Okay.    That all seems reasonable by

16     both sides.      I'm looking to see, so what would the deadline

17     be that was set originally?

18                 MR. SODER:     Originally, two weeks to respond from

19     the date of service and a week to reply.

20                 THE COURT:     The date of service I believe was the

21     13th; is that correct, Mr. Yurick, or --

22                 MR. YURICK:     Yes, yes, I believe that's correct,

23     Your Honor.

24                 THE COURT:     All right.     So normally the day to

25     respond would be -- is it the 27th, Bill?              The 27th, okay,
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 1     it would be the 27th.        Just so we don't run out of time,

 2     maybe a conference call sometime the middle of -- either the

 3     middle -- yeah, I think the middle of next week to see if

 4     you're at -- to see if we need to extend that date or not I

 5     think would be helpful.         I'd say maybe Wednesday, the 25th.

 6     Why don't we have another call, conference call, Wednesday,

 7     the 25th, just so I can gauge where you are and see if I

 8     need to amend my scheduling order, and you can also give me

 9     some indication of where you're at at that time.               Bill

10     suggests 10:00 a.m. on the 25th.

11                 MS. HILL:     That works for me, Your Honor.          This is

12     Jessie Hill for the plaintiff.

13                 THE COURT:     Okay.

14                 MR. PICKENS:     This is Jim Pickens.        It works for me

15     as well on behalf of the City of Lebanon.

16                 THE COURT:     Okay.

17                 MR. MITCHELL:      It also works for me, Your Honor.

18     This is Jonathan Mitchell on behalf of defendant.

19                 THE COURT:     Great.    All right.     Then, I'll speak

20     with you all next Wednesday, and I hope between now and then

21     you can come to some sort of an agreement that we can use to

22     put on an order.

23            Is there anything else that the parties wish to bring

24     up at this point?

25                 MR. YURICK:     Your Honor, this is Mark Yurick.             This
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 1     is sort of an aside, and I just wanted to apologize to the

 2     Court for not being available last week.             I wasn't aware

 3     that there was going to be a telephone conference.                I didn't

 4     mean any disrespect to the Court, obviously.

 5                 THE COURT:     Oh, Mr. Yurick, I think I know you from

 6     some earlier life and I appreciate what a professional you

 7     are, and I'm certain that it was not on purpose that that

 8     happened.     I know we sent out the order very late because we

 9     were unable to reach you earlier by phone, and I can

10     understand your not getting to it.            So that's no problem at

11     all.

12                 MR. YURICK:       Thank you very much, Your Honor,

13     appreciate that.

14                 THE COURT:     Anything else, Counsel?

15            All right.     Okay.    I'll speak with you all next week.

16     Good luck on working something out.

17                 MR. YURICK:       Thank you very much, Your Honor.

18                 MS. HILL:     Thank you, Your Honor.

19            (Proceedings concluded at 3:13 p.m.)

20                              C E R T I F I C A T E

21          In accordance with 28 U.S.C. Section 753, I certify
       that the foregoing is a correct transcript of the record of
22     proceedings in the above-entitled matter prepared from my
       stenotype notes and that the transcript page format is in
23     accordance with the regulations of the Judicial Conference
       of the United States.
24
                     /s/                  _______           06/23/2022
25                   LISA CONLEY YUNGBLUT, RDR, RMR, CRR, CRC     DATE
